              UNITED STATES DISTRICT COURT
        FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                     Case No. 20-CV-954

FARHAD AZIMA,

       Plaintiff,
                                           PLAINTIFF’S RESPONSE TO
       v.                                  DEFENDANT DEL ROSSO’S
                                             (THIRD) MOTION FOR
NICHOLAS DEL ROSSO and VITAL                 PROTECTIVE ORDER
MANAGEMENT SERVICES, INC.,

       Defendants.


      Defendant Del Rosso has filed another frivolous and unsupported motion

seeking to delay and obstruct discovery. This time, Mr. Del Rosso has moved

for a Protective Order (his third motion seeking such relief) to limit the scope

of his deposition. See ECF No. 142. But even though the scope of discovery

and Mr. Del Rosso’s deposition have been at issue and discussed by the parties

for months, Mr. Del Rosso waited until one week before his deposition to file

his motion and thus deprived the Court of sufficient time to rule on the motion

after full briefing by the parties. Mr. Del Rosso and his counsel then impeded

the deposition by objecting to questions on relevance grounds hundreds of

times, with his counsel inappropriately instructing Mr. Del Rosso not to

answer questions seeking non-privileged information. This conduct violates

Federal Rules of Civil Procedure and Local Rules prohibiting counsel from

instructing a witness not to answer questions except on very narrow grounds


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that do not apply here. See Fed. R. Civ. P. 30(c)(2); Local Civ. R. 30.1. This

conduct also exemplifies Defendants’ ongoing strategy to obstruct and delay

discovery at every turn.

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      Although the deposition has been temporarily suspended, Defendants’

contentions in their motion as to the scope of permissible discovery remain live

before the Court in other motions and threaten to impede future discovery,

including the deposition of Mr. Del Rosso as the Rule 30(b)(6) witness for

Defendant Vital Management Services, Inc. Plaintiff respectfully requests

that the Court reject Defendants’ untenable position as to the scope of

discovery, deny Mr. Del Rosso’s motion for a protective order, and instruct

Defendants to comply with Plaintiff’s outstanding discovery requests

forthwith.

      A.     Defendant’s Motion Improperly Seeks to Narrow the Scope
             of Discovery.

      Defendant Del Rosso’s efforts to limit the scope of his deposition flout the

liberal rules of discovery, which “is broad in scope and freely permitted.”

Carefirst of Md., Inc. v. Carefirst Pregnancy Ctrs., Inc., 334 F.3d 390, 402 (4th



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       Plaintiff will file a motion seeking an order from the Court requiring
Mr. Del Rosso to answer any questions that his counsel instructed him not to
answer on inappropriate grounds. See Fed. R. Civ. P. 30(d)(1) (“The court must
allow additional time . . . if needed to fairly examine the deponent or if the
deponent, another person, or any other circumstance impedes or delays the
examination) (emphasis added).

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Cir. 2003); see also United States v. Duke Energy Corp., No. 00-CV-1262, 2012

WL 1565228, at *7 (M.D.N.C. Apr. 30, 2012) (“The Fourth Circuit has stated

that ‘deposition-discovery rules are to be accorded a broad and liberal

treatment.’”) (quoting Ralston Purina Co. v. McFarland, 550 F.2d 967, 973 (4th

Cir. 1977)). The Federal Rules of Civil Procedure and the Local Rules of the

Middle District of North Carolina require a deponent to answer all

non-privileged questions absent a court’s direction limiting evidence. See Fed.

R. Civ. P. 30(c)(1); Local Civ. R. 30.1. The Court has issued no such limitation

here.       Indeed, the Court’s pretrial Order dictates the following scope of

discovery: “[d]iscovery will be conducted on the operative allegations and

claims contained in Plaintiff’s Complaint, the denials and defenses raised in

Defendant’s Answer, and all other relevant matters within the scope of Fed. R.

Civ. P. 26 . . . .” ECF No. 93 at 1-2.

        Defendant Del Rosso seeks to upend that balance and again impede

discovery by refusing to testify about relevant, non-privileged matters. In

particular, Defendant argues that topics other than the 2018-2019 posting of

Plaintiff’s confidential information are outside the scope of discovery. This is

a baseless contention.2 Regardless, Mr. Del Rosso cannot refuse to answer



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        Plaintiff will not relitigate this issue here but reiterates that
Defendants’ interpretation in this and other court filings that discovery should
be limited to a matter of months during 2018-2019 is unreasonable and

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Plaintiff’s questions based on Defendants’ preferences regarding the

appropriate temporal scope of discovery.      Relevance objections are not an

appropriate basis to limit the scope of questioning at a deposition. See, e.g.,

Gobena v. CourierNet Inc., No. 20-CV-00290-RJC-DSC, 2021 WL 1917132, at

*3 (W.D.N.C. Feb. 24, 2021), report and recommendation adopted, 2022 WL

301536 (W.D.N.C. Feb. 1, 2022) (objections that questions were “outside the

scope of the Court’s limited discovery Order” were “not valid”); Ali v.

WorldWide Language Res., LLC, No. 20-CV-00638-D, 2022 WL 16727110, at

*1 (E.D.N.C. Nov. 4, 2022) (noting “irrelevance” does not “lie within the

protected class of objections”).

      Mr. Del Rosso likewise cannot avoid testifying about the services he

performed at Dechert’s direction simply because they “may be covered by the

attorney-client privilege and/or work product doctrine.” See ECF No. 142-1 at

2-3 (emphasis added). Courts are clear that “[i]t cannot be assumed . . . that

the only relevant information [a deponent] possesses is privileged.” Chevron

Corp. v. Donziger, No. 11-cv-0691 (LAK/JCF), 2013 WL 1896932, at *2

(S.D.N.Y. May 7, 2013). As the proponent of the privilege, Mr. Del Rosso has

the burden to prove the privilege with more than conclusory allegations or


disconnected from the liberal scope of discovery articulated in Rule 26. See,
e.g., ECF Nos. 125, 131; see also Fed. R. Civ. P. 26(b)(1). The Court has already
noted that bank records dating back to 2014 “may have some bearing on
Plaintiff’s civil conspiracy claim.” See ECF No. 54 at 38.

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statements and, at minimum, must support his claims with an affidavit or

other admissible evidence. See, e.g., Byrnes v. Jetnet Corp., 111 F.R.D. 68,

71-72 (M.D.N.C. 1986) (holding that proponent of privilege did not sufficiently

establish the necessary facts because the proponent relied on “counsel’s

conclusory allegation” that the communications were privileged, which was

“clearly insufficient” to establish the attorney-client privilege); Duke Energy,

2012 WL 1565228, at *12 (holding that party failed to establish attorney-client

privilege because the proponent only “offered affidavits with conclusory

allegations”); Santrade, Ltd. v. Gen. Elec. Co., 150 F.R.D. 539, 546 (E.D.N.C.

1993) (holding that proponent of the privilege had the burden to prove that “as

to each country” the attorney-client privilege applied to foreign-based patent

agents).

      At the deposition, Plaintiff had “the right to develop the record” by

seeking Mr. Del Rosso’s knowledge and, “where an objection is lodged, ask[]

the questions that will help determine whether the privilege is properly

asserted.” Chevron, 2013 WL 1896932, at *2; see also United States v. Lawless,

709 F.2d 485, 487 (7th Cir. 1983) (“[A] claim of privilege must be made and

sustained on a question-by-question or document-by-document basis; a blanket

claim of privilege is unacceptable.”); Window World of Baton Rouge, LLC v.

Window World, Inc., Nos. 15 CVS 1-2, 2019 WL 3995941, at *31 (N.C. Super.

Ct. Aug. 16, 2019) (“[D]escribing a document as ‘regarding’ or ‘related to’ ‘legal


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advice’ is of no more assistance to a party seeking to test a privilege claim than

generally asserting that the document is protected by the attorney-client

privilege.”). Moreover, even if Mr. Del Rosso could establish a viable privilege

claim for certain work or communications performed for Dechert, some

information and documents would still be non-privileged and discoverable. In

re Grand Jury Subpoena, 204 F.3d 516, 520 (4th Cir. 2000) (“The identity of

the client, the amount of the fee, the identification of payment by case file

name, and the general purpose of the work performed are usually not protected

from disclosure by the attorney-client privilege.”) (cleaned up).

      B.    Defendant Del Rosso and His Counsel Obstructed
            Plaintiff’s Examination of Mr. Del Rosso During the
            Deposition.

      Notwithstanding the fact that the Court has not issued any order

limiting the scope of discovery, Defendant Del Rosso and his counsel obstructed

Mr. Del Rosso’s deposition with continuous objections and unfounded

instructions not to answer questions. During the deposition, Mr. Del Rosso’s

counsel lodged objections more than 400 times in total. These objections were

unjustified and often frivolous.      Mr. Del Rosso’s counsel, for example,

frequently instructed his client not to answer questions seeking non-privileged

information, see infra at Section 1, and raised numerous, improper relevance

objections, see infra at Section 2.     The privilege objections in particular

prevented Plaintiff from obtaining relevant testimony because Mr. Del Rosso


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took his counsel’s conditional instructions not to answer to the extent the

question called for privileged information as a direction not to answer at all,

even when the question clearly called for factual information.

      This is not the first time Defendants have attempted to block or stall

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discovery. See, e.g., ECF No. 163. This type of conduct is yet another example

of Defendants’ strategy to obstruct and delay discovery. Unless the Court steps

in to rein in Defendants’ strategy of obstruction, these issues will likely plague

Mr. Del Rosso’s Rule 30(b)(6) deposition and the rest of this case.

      1.       Defendants’ Counsel Repeatedly Made Invalid Objections to
               Questions on the Basis of Relevance.

      Defendants take the untenable position that Mr. Del Rosso was “not

required” to answer questions at his deposition about topics other than the

2018-2019 posting of Plaintiff’s confidential information. See ECF No. 142-1


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        Plaintiff also learned during the deposition that Mr. Del Rosso has vast
quantities of relevant information that have not been produced, despite the
fact that the parties are almost halfway through fact discovery. See ECF No.
163 at 5-6 (summarizing Mr. Del Rosso’s testimony regarding unproduced
relevant documents). For example, Del Rosso admitted to his and his
counsel’s custody and control of a laptop used by Jamie Buchanan, a
representative of RAK who Del Rosso admitted to working with. According to
Del Rosso, that laptop does not belong to Buchanan but to RAK. Regardless of
who at one point had an ownership interest in that laptop, it clearly contains
relevant information and Defendants are obligated to produce responsive
documents from that laptop. Defendants’ cavalier treatment of their document
production obligations is simply another example of their attempts to delay
this case. It should not have taken Plaintiff’s deposition of a party to learn
what relevant sources of information Defendants possess.

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at 2. At his deposition, Mr. Del Rosso’s counsel objected over 150 times on the

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basis that a question was outside the scope of discovery.        See, e.g., Ex. 1 at

45:1-21; 55:15-19; 153:2-154:23 (Excerpts of Nicholas Del Rosso Dep. Tr. (Feb.

13, 2023) (filed under seal)). This repeated litany of unjustified objections

created delay and confusion, and eroded Plaintiff’s deposition time. To the

extent Defendants intend to stand on these objections, Plaintiff submits that

they are invalid and respectfully requests the Court to confirm that

Defendants’ tactics are inconsistent with their obligations under the Court’s

prior orders and with the broad discovery regime contemplated by the Federal

Rules. See, e.g., Gobena, 2021 WL 1917132, at *3; see also Ali, 2022 WL

16727110, at *1.

      Defendants cannot even argue that they made these objections somehow

to preserve their rights. The Federal Rules expressly state that “[a]n objection

. . . to the competence, relevance, or materiality of testimony . . . is not waived

by a failure to make the objection before or during the deposition.” Fed. R. Civ.

P. 32(d)(3). These objections were only intended to waste valuable deposition

time, obscure the record, and potentially coach the witness. To the extent any




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         After receiving Defendants’ position, Plaintiff warned Defendants’ via
letter that instructions not to answer on relevance grounds were improper. See
Ex. 2 (Letter from K. Behre to J. Branch (Feb. 10, 2023)).

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testimony was withheld on the basis of these objections, Mr. Del Rosso must

provide it.

              2.    Defendants’ Counsel Improperly Objected to Questions on
                    the Basis of Vaguely-Asserted Privilege Claims.

      During his deposition, Mr. Del Rosso’s counsel remarkably instructed his

client not to answer questions approximately 65 times on the basis of privilege.

See, e.g., Ex. 1 at 143:1-144:9, 159:1-17, 162:17-21, 191:22-193:17. Defendants

cannot categorically refuse to answer questions on the basis of a privilege that

only “may” exist and without providing basic information about the alleged

privilege.    The attorney-client privilege “is not absolute, and [the Fourth

Circuit] has noted that it ‘is to be strictly confined within the narrowest

possible limits[.]’” Solis v. Food Emps. Lab. Rels. Ass’n, 644 F.3d 221, 226 (4th

Cir. 2011) (quoting United States v. Aramony, 88 F.3d 1369, 1389 (4th Cir.

1996)). And as the proponent of the privilege and/or work product doctrine,

Mr. Del Rosso has the burden to demonstrate its applicability by satisfying

“procedural and substantive criteria.” NLRB v. Interbake Foods, LLC, 637

F.3d 492, 501 (4th Cir. 2011); see also State v. Farook, 871 S.E.2d 737, 749

(N.C. 2022) (“The party asserting the privilege has the burden of establishing

each of the essential elements of the privileged communication[s].”).

Procedurally, Mr. Del Rosso must (i) “‘expressly make the claim’” and

(ii) “‘describe the nature of the [information] . . . in a manner that, without



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revealing information itself privileged or protected, will enable other parties to

assess the claim.’” NLRB, 637 F.3d at 501 (quoting Fed. R. Civ. P. 26(a)(5)(A)).

Substantively, a party must show that:

      (1) the asserted holder of the privilege is or sought to become a
      client; (2) the person to whom the communication was made (a) is
      a member of the bar of a court, or is his subordinate and (b) in
      connection with this communication is acting as a lawyer; (3) the
      communication relates to a fact of which the attorney was
      informed (a) by his client (b) without the presence of strangers (c)
      for the purpose of securing primarily either (i) an opinion on law
      or (ii) legal services or (iii) assistance in some legal proceeding, and
      not (d) for the purpose of committing a crime or tort; and (4) the
      privilege has been (a) claimed and (b) not waived by the client.

Id. at 501-02 (citation omitted); see also N. Carolina Elec. Membership Corp. v.

Carolina Power & Light Co., 110 F.R.D. 511, 513 (M.D.N.C. 1986) (“[T]he

burden of persuasion on each of the elements of the privilege is clearly upon

the proponent.”).

      North Carolina law5 applies a similar standard:



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        “[I]n a civil case, state law governs privilege regarding a claim or
defense for which state law supplies the rule of decision.” Fed. R. Evid. 501.
“Under this rule, when, as here, the substantive decision . . . is governed by
state law, the state law also determines the privilege of a witness.” Hartsock
v. Goodyear Dunlop Tires N. Am. Ltd, 672 F. App’x 223, 226 (4th Cir. 2016)
(cleaned up). In its order on Defendants’ motion to dismiss for lack of subject
matter jurisdiction, the Court clarified that “it maintains subject matter
jurisdiction over Plaintiff’s state law claims through diversity[.]” ECF No. 80
at 7. The attorney work product doctrine, on the other hand, is governed by
Federal common law. See Mason C. Day Excavating, Inc. v. Lumbermens Mut.
Cas. Co., 143 F.R.D. 601, 605 (M.D.N.C. 1992) (“In matters involving work

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      A privilege exists if (1) the relation of attorney and client existed
      at the time the communication was made, (2) the communication
      was made in confidence, (3) the communication relates to a matter
      about which the attorney is being professionally consulted, (4) the
      communication was made in the course of giving or seeking legal
      advice for a proper purpose although litigation need not be
      contemplated[,] and (5) the client has not waived the privilege.

Farook, 871 S.E.2d at 749 (citation omitted); see also In re Investigation of

Miller, 584 S.E.2d 772, 786 (N.C. 2003) (“If any one of these five elements is

not present in any portion of an attorney-client communication, that portion of

the communication is not privileged.”).         Like Federal law, under North

Carolina law “[t]he burden is always on the party asserting the privilege to

demonstrate each of its essential elements” and “‘[t]his burden may not be met

by ‘mere conclusory or ipse dixit assertions,’ or by a ‘blanket refusal to testify.’”

Miller, 584 S.E.2d at 787 (quoting 1 Scott N. Stone & Robert K. Taylor,

Testimonial Privileges, § 1.61, at 1-161 (2d ed. 1994)). “‘Rather, sufficient

evidence must be adduced, usually by means of an affidavit or affidavits, to

establish the privilege with respect to each disputed item.” Id.

      Here, not only did Mr. Del Rosso fail to meet this burden, he prevented

Plaintiff from assessing the validity of Defendants’ privilege claims. Plaintiff

has “the right to develop the record” by seeking Mr. Del Rosso’s knowledge and,

“where an objection is lodged, ask[] the questions that will help determine


product protection, as opposed to attorney-client privilege, federal courts apply
federal law, even in diversity cases.”).

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whether the privilege is properly asserted.”    Chevron, 2013 WL 1896932, at

*2; see also 8A Charles Alan Wright & Arthur Miller, Federal Practice and

Procedure, § 2113 Conduct of Examination (3d ed.):

     It is clear that there must be some explanation for a privilege
     objection [in a deposition]. Rule 26(b)(5)(A) explicitly requires, as
     to all discovery, that a party who refuses to provide discovery on a
     claim of privilege provide a sufficient specifics to “enable other
     parties to assess the claim.” . . . [T]he directive of Rule 26(b)(5)(A)
     does not appear to limit the traditional propriety of inquiry into
     such matters as time, place, persons present, etc., that normally
     attend the assertion of a privilege in a deposition.

     Despite Plaintiff’s right to develop the record, Mr. Del Rosso’s counsel

repeatedly instructed him not to answer questions seeking non-privileged

information.   Mr. Del Rosso’s counsel instructed him not to answer the

questions seeking information about, among other things, whether his phone

had been imaged to preserve records and whether Mr. Del Rosso received

devices from other individuals involved in the conspiracy against Plaintiff.6

None of these questions seek privileged information. They seek facts.

     While privilege rules generally protect communications between

attorneys and clients related to legal advice and an attorney’s mental



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        Defendants refused to disclose information about devices belonging to
co-conspirators in some instances, but oddly permitted testimony about a
laptop containing co-conspirator Buchanan’s data that Del Rosso claims does
not belong to Buchanan but to RAK. The inconsistent application of the
unreasonable “bright lines” Defendants attempted to paint further undermines
their instructions not to answer.

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impressions, they do not permit a party to cloak himself in the protection to

resist disclosure of underlying facts. See Upjohn Co. v. United States, 449 U.S.

383, 395-96 (1981) (attorney-client privilege); Koch Materials Co. v. Shore

Slurry Seal, Inc., 208 F.R.D. 109, 121-22 (D.N.J. 2002) (work product doctrine);

see also Restatement (Third) of the Law Governing Lawyers § 69 cmt. d (Am.

L. Inst. 2000). Most of the questions posed to Mr. Del Rosso were “Yes” or “No”

questions regarding specific factual points or were seeking Mr. Del Rosso’s

general description of a potentially privileged event (the kind of information

that Defendants were required to have provided in a privilege log description

field based on any claim of privilege). See, e.g., Ex. 1 at 143:1-144:9, 159:1-17,

162:17-21, 191:22-193:17.       Defendant Del Rosso nevertheless prevented

Plaintiff from obtaining answers to basic facts. This testimony is relevant and

discoverable, and Plaintiff is entitled to receive it.

      Furthermore, most of the objections purportedly related to a privilege

not held by Del Rosso but held by RAK. Del Rosso is not an attorney, and

typically “[c]ommunications do not merit the attorney-client privilege when

they are made in the presence of a third party.” Glob. Textile All., Inc. v. TDI

Worldwide, LLC, 847 S.E.2d 30, 34 (N.C. 2020); see also Berens v. Berens, 785

S.E.2d 733, 740 (N.C. Ct. App. 2016) (“Generally, communications between an

attorney and client are not privileged if made in the presence of a third party

because those communications are not confidential and because that person’s


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presence constitutes a waiver.”); State v. Murvin, 284 S.E.2d 289, 294 (N.C.

1981) (holding that presence of friend and aunt destroyed privilege because

their presence was not “necessary for the protection of [the client’s] interests”).

      Under Fourth Circuit and North Carolina law, the attorney-client

privilege only covers non-lawyers in limited circumstances. For example, the

North Carolina Supreme Court held that the attorney-client privilege does not

apply to communications between the sole shareholder of a company and the

shareholder’s financial advisor. Glob. Textile All., 847 S.E.2d 30 (N.C. 2020).

In that case, the Court addressed two possible theories for extending the

attorney-client privilege: (1) the “functional equivalent test,” under which “an

individual is the functional equivalent of a company’s employee when his

communications with counsel ‘fell within the scope of his duties’ for the

company,” id. at 35 (citation omitted); and (2) the Kovel doctrine, under which

“communications     involving   a   third    party   are   privileged   when      the

communications are ‘necessary, or at least highly useful, for the effective

consultation between the client and the lawyer which the privilege is designed

to permit,’” id. at (quoting United States v. Kovel, 296 F.2d 918, 921-22 (2d Cir.

1961)).   The Court first acknowledged that “[n]either of these specialized

applications has been recognized under North Carolina law,” but, if they were,

neither applied. Id. at 34-35. The functional-equivalent test did not apply

because the advisor “lacks any sort of agency relationship with [the company]


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and thus cannot have ‘duties’ at [the company].” Id. at 35. And the Kovel

doctrine did not apply because the company “d[id] not argue that [the advisor’s]

presence was necessary for [the company] to communicate with its attorneys;

rather, [the company] argues that [the advisor’s] presence was highly useful

for [the shareholder] to communicate with [the company’s] attorneys.” Id.; see

also Technetics Grp. Daytona, Inc. v. N2 Biomedical, LLC, No. 17 CVS 22738,

2018 WL 5892737, at *5 (N.C. Super. Ct. Nov. 8, 2018) (holding that, even if

the Kovel doctrine applied, the “privilege does not extend to consultation with

a third party that is merely useful or convenient”).

      This Court has also held that a relationship must be more than a “mere

‘working relationship’” to “support a finding of agency for the purposes of

attorney-client privilege,” and “[c]ases finding an agency relationship sufficient

to uphold an attorney-client privilege involve relationships with familial or

professional aspects.” Atwood v. Burlington Indus. Equity, Inc., 908 F. Supp.

319, 323 (M.D.N.C. 1995). This Court further explained that, even if a

relationship was “beneficial,” the attorney-client privilege would not apply if

“the relationship lacks the formal aspects necessary to rise to the level of

agency for the purposes of attorney-client privilege.” Id.

      Here, Mr. Del Rosso testified that some of his work involved providing

protective services (in other words, bodyguards) to his co-conspirators. Yet his

counsel made no effort to carve out that type of work from his instructions to


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Del Rosso not to answer. Del Rosso made no showing and offered no evidence—

much less sworn testimony—about the requisite facts he is required to prove

as the proponent of the attorney-client privilege and attorney work product

doctrine. Thus, his claims of privilege should be disregarded.

                                CONCLUSION

      For the foregoing reasons, Plaintiff respectfully requests that the Court

deny Defendant Del Rosso’s third motion for protective order and afford

Plaintiff any relief the Court deems appropriate to ensure that Plaintiff’s rights

to discovery within the Rules are protected.

      This, the 17th day of February, 2023.

                                  WOMBLE BOND DICKINSON (US) LLP

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                    CERTIFICATE OF WORD COUNT
      The undersigned certifies compliance with Local Rule 7.3(d) regarding

length limitations. This Response contains fewer than 6,250 words. The

undersigned has relied on the word count feature of Microsoft Word 365 in

making this certification.


                               /s/ Ripley Rand
                               Ripley Rand
                               Counsel for Plaintiff




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            IN THE UNITED STATES DISTRICT COURT
         FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                      CASE NO. 20-CV-954

FARHAD AZIMA,

       Plaintiff,

       v.
                                            CERTIFICATE OF SERVICE

NICHOLAS DEL ROSSO and
VITAL MANAGEMENT SERVICES,
INC.,

       Defendants.

      I hereby certify that I electronically filed the foregoing with the Clerk of
Court using the CM/ECF system, which will send electronic notification of this
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